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    ~AO 2450 (CASO) (Rev. 1112) Judgment in a Criminal Case for Revocations

                Sheet 1                                                                                                                       L ..

                                                                                                           I2 SEP 12 PH 12: 02
                                            UNITED STATES DISTRICT COURT ,­                           -;   '~_ 1"",   C"   •   •   J, :' •




                                                  SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                       1C UV"­
                    UNITED STATES OF AMERICA                                  JUDGMENT'IN A CRIMINAL c1\~f.!'1(
                                       V.                                     (For Revocation of Probation or Supervised Release)
                    DEMITRO CONTRERAS (14)                                    (For Offenses Committed On or After November I, 1987)


                                                                              Case Number: 06CR1243-DMS

                                                                              Brian P Funk CJA
                                                                              Defendant's Attorney
    REGISTRATION No. 99629198
o   THE DEFENDANT:
    I£] admitted guilt to violation of allegation(s) No._l_-5_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o    was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.

    ACCORDINGLY. the court has adjudicated that the defendant is guilty of the following allegation(s):


    Alle2ation Number              Nature of Violation
           1,2        Unlawful use ofa controlled substance and/or Failure to Test; VCCA (Violent Crime Control Act) (nv3)
             3        Failure to participate in drug aftercare program (nv21)
             4        Failure to complete residential drug treatment program.
             5        Failure to report as directed (nv7)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                                      _4_     of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attomey for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notifY the court and Umted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                              SEPTEMBER 12, 2012
                                                                              Date of Imposition of Sentence




                                                                              HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE




                                                                                                                                                        06CR1243-DMS
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AO 2450 (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
           Sbeet 2 Imprisonment
                                                                                               Judgment ~~- Page _ _2 _ of       4
 DEFENDANT: DEMITRO CONTRERAS (14)
 CASE NUMBER: 06CR1243-DMS
                                                                  IMPRISONMENT
         The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          THREE (3) MONTHS.




    o    The court makes the following recommendations to the Bureau of Prisons;




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.         Op·m.   on _ _ _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           o before ---------------------------------------------------------------------
           o as notified by the United States Marshal.
           o as     notified by the Probation or Pretrial Services Office.



                                                                         RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                     to

 at ________________ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                             By ________~~~~~~~~~~----------
                                                                                          DEPUTY UNITED STATES MARSHAL




                                                                                                                       06CR1243-DMS
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AO 2450 (CASO) (Rev. 1/12) Judgment in a Criminal Case for Revocations
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page    ~          of _ ........4'--__
DEFENDANT: DEMITRO CONTRERAS (14)                                                                      II
CASE NUMBER: 06CR1243-DMS
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
TWENTY-FOUR (24) MONTHS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of re lease from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          ­
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
    Backlog Elimination Act of2000"pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o       The defendant shall comply with tfie requirements ofthe Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifYing offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                        06CR1243-DMS
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                  Sheet 4 ..­ Special Conditions
                                                                                                         Judgment-Page   --A-- of _ _4......._ _
       DEFENDANT: DEMITRO CONTRERAS (14)                                                           II
       CASE NUMBER: 06CR1243-DMS




                                               SPECIAL CONDITIONS OF SUPERVISION
o   Submit person, esidence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall wam any other residents that the premises may be subject to searches pursuant to
    this condition.                                                                                                                              II

o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally, supervision waived upon
    deportation, exclusion or voluntary departure.
o   Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
I8l Not possess any firearm, explosive device or other dangerous weapon.
181 Not enter or reside in the Republic of Mexico without written permission of the probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
[8J No affiliation or contact with any prison or street gangs, including but not limited to the Mexican Mafia and/or the Viejo de los Santos gangs.

o   Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within                  days.
181 Enroll in and complete a residential drug treatment program at the direction of the probation officer.
181 Reside in a Residential Reentry Center (RRC) if directed by the probation officer for a period of up to 120 days.
181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

181 Submit to search of person, property, residence, abode or vehicle, conducted by the probation officer, or any law enforcement officer, at any
    time of the day or night, with or without a warrant, and with or without reasonable or probably cause. Failure to submit to search may be
    grounds of revocation; you shall warn any residents that the premises may be subject to searches pursuant to this condition
    (4th Amendrnaent Waiver).




                                                                                                                                     06CR1243-DMS
